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                    1   MORGAN, LEWIS & BOCKIUS LLP
                        Joseph Duffy, Bar No. 241854
                    2   joseph.duffy@morganlewis.com
                        300 South Grand Avenue
                    3   Twenty-Second Floor
                        Los Angeles, CA 90071-3132
                    4   Tel: +1.213.612.2500
                        Fax: +1.213.612.2501
                    5
                    6   Eric W. Sitarchuk, PA Bar No. 39082 (pro hac vice)
                        eric.sitarchuk@morganlewis.com
                    7   Ryan P. McCarthy, PA Bar No. 206961 (pro hac vice)
                        ryan.mccarthy@morganlewis.com
                    8   Jaclyn U. Whittaker, PA Bar No. 316282 (pro hac vice)
                        jaclyn.whittaker@morganlewis.com
                    9   1701 Market St.
                        Philadelphia, PA 19103-2921
                 10     Tel: +1.215.963.5000
                        Fax: +1.215.963.5001
                 11
                        Attorneys for Defendants
                 12     Express Scripts Holding Co. and
                        Express Scripts, Inc.
                 13
                 14
                                           UNITED STATES DISTRICT COURT
                 15
                                          SOUTHERN DISTRICT OF CALIFORNIA
                 16
                 17     UNITED STATES OF AMERICA ex               Case No. 3:19-cv-01199-TWR-WVG
                        rel. 3729 LLC,
                 18                                                DEFENDANTS EXPRESS
                                          Plaintiffs,              SCRIPTS HOLDING CO. AND
                 19                                                EXPRESS SCRIPTS, INC.’S
                                    vs.                            MEMORANDUM OF POINTS
                 20                                                AND AUTHORITIES
                        EXPRESS SCRIPTS HOLDING CO.                REGARDING THE PUBLIC
                 21     and EXPRESS SCRIPTS, INC.,                 DISCLOSURE BAR
                 22                       Defendants.             Jury Trial Demanded
                 23                                               Hon. Todd W. Robinson
                                                                  Courtroom 3A
                 24                                               Hearing Date: Apr. 27, 2023, 1:30 PM
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                    1                                      INTRODUCTION
                    2            Congress amended the False Claims Act1 through the Patient Protection and
                    3   Affordable Care Act. Pub. L. No. 111-148, § 10104(j)(2), 124 Stat. 119 (2010)
                    4   (“ACA”). The amendments went into effect on March 23, 2010 and included
                    5   changes to the public disclosure bar. The Court is to apply the version of the False
                    6   Claims Act in effect at the time the allegedly fraudulent claim was submitted. Thus,
                    7   the pre-ACA amendment (1986) version of the public disclosure bar applies to claims
                    8   submitted before March 23, 2010. The post-amendment version (2010) applies to
                    9   claims submitted on or after that date. 3729 LLC’s claims fail as a matter of law
                 10     under both versions of the bar.
                 11                                           ARGUMENT
                 12         I.   Applicable Version of the Public Disclosure Bar
                 13              Courts apply the version of the FCA in effect at the time the claim at issue was
                 14     submitted. See, e.g., Bloedow v. Planned Parenthood of the Great Nw. Inc., 2013
                 15     WL 6631771, at *2 (W.D. Wash. Dec. 16, 2013) (noting “the statute in effect at the
                 16     time of Defendant’s alleged false claims” governs), aff’d sub nom. United States ex
                 17     rel. Bloedow v. Planned Parenthood of the Great Nw. Inc., 654 F. App’x 335 (9th
                 18     Cir. 2016). Thus, the 1986 version of the public disclosure bar applies to claims
                 19     submitted before March 23, 2010, and the 2010 version applies to claims submitted
                 20     on or after that date. Id.
                 21              Here, 3729 LLC alleges that Defendants’ conduct lasted “from at least October
                 22     2009 until early 2018,” but does not specify when Defendants allegedly submitted
                 23     any relevant claims. Compl. ¶ 2. The law cited in Defendants’ briefing is applicable
                 24     to all claims submitted on or after March 23, 2010. For any claims submitted between
                 25
                 26     1
                            Defendants use the same defined terms as in their Memorandum of Points and
                 27     Authorities in Further Support of their Motion to Dismiss (“Reply”) (ECF No. 67).
                 28     All citations and internal quotations marks are omitted unless otherwise indicated.
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                    1   October 2009 and March 22, 2010, the prior version of the bar would apply.
                    2   II.     Analysis
                    3           The 2010 amendments made three relevant changes to the public disclosure
                    4   bar.2 Despite those changes, both versions of the bar compel the same result:
                    5   dismissal of 3729 LLC’s Complaint with prejudice.3
                    6           A.    “Based Upon” Means “Substantially the Same”
                    7           The 2010 amendments bar actions where “substantially the same allegations
                    8   or transactions” have been publicly disclosed, whereas the 1986 statute bars actions
                    9   that are “based upon” publicly disclosed allegations or transactions. 31 U.S.C.
                 10     § 3730(e)(4)(A) (2010); 31 U.S.C. § 3730(e)(4)(A) (2006). This change is semantic,
                 11     rather than substantive, and is therefore immaterial because the test under each
                 12     version is substantively identical. Indeed, the Ninth Circuit interpreted the pre-2010
                 13     “based upon” language to mean “substantially the same.” See, e.g., Amphastar
                 14     Pharms. Inc. v. Aventis Pharma SA, 856 F.3d 696, 704 (9th Cir. 2017) (applying 1986
                 15     bar); see also United States ex rel. Lujan v. Hughes Aircraft Co., 243 F.3d 1181, 1189
                 16     (9th Cir. 2001) (affirming dismissal where allegations were “‘substantially similar’
                 17     to and ‘based upon’” public disclosure). In other words, when Congress “deleted the
                 18     ‘based upon’ language and replaced it with ‘substantially the same,’” it “did not
                 19     materially alter the elements required to meet the public disclosure bar.” United
                 20     States ex rel. Silbersher v. Allergan, Inc., 46 F.4th 991, 996 n.5 (9th Cir. 2022); see
                 21
                 22     2
                            The 2010 amendments also converted the bar from an attack on subject matter
                 23     jurisdiction to a basis for dismissal. See United States ex rel. Osheroff v. Humana
                 24     Inc., 776 F.3d 805, 810-11 (11th Cir. 2015). Because the outcome is the same
                 25     regardless of how the motion is styled (dismissal), this change does not affect the
                 26     analysis, so Defendants do not address it.
                 27     3
                            Defendants seek dismissal with prejudice as to 3729 LLC and dismissal without
                 28     prejudice as to the United States. See Reply at 1 n.2.
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                    1   also Silbersher v. Valeant Pharms. Int’l, Inc., 445 F. Supp. 3d 393, 404 (N.D. Cal.
                    2   2020) (noting “[t]he factors for determining when the bar applies also have not
                    3   materially changed” as a result of the 2010 amendments).
                    4           As a result, under both versions of the bar, the Court must determine whether
                    5   the Complaint is substantially similar to the publicly disclosed allegations. As
                    6   described in Defendants’ prior briefing (see Mem. at 5; Reply at 3-5), public
                    7   disclosures and a complaint are substantially similar “when the prior public
                    8   disclosure put the government on notice to investigate the fraud.” United States ex
                    9   rel. Solis v. Millennium Pharms., Inc., 885 F.3d 623, 626 (9th Cir. 2018); see also
                 10     Amphastar Pharms., 856 F.3d at 703 (only a “critical mass of the underlying facts or
                 11     of the allegations” must be disclosed). That is the case here. See Mem. at 5-10;
                 12     Reply at 2-5. Accordingly, this change does not affect Defendants’ arguments with
                 13     regard to either pre- or post-ACA amendment claims.
                 14             B.     The Army Times Article and Federal Register Are Public Sources
                 15             The 2010 amendments’ changes to what kinds of publications qualify as public
                 16     sources triggering the bar are immaterial. The Army Times and Federal Register each
                 17     qualify as sources of public disclosures under both versions of the statute.4
                 18             The 1986 bar applied to disclosures from a “criminal, civil, or administrative
                 19     hearing, in a congressional, administrative, or [GAO] report, hearing, audit, or
                 20     investigation, or from the news media.” 31 U.S.C. § 3730(e)(4)(A) (2006). The 2010
                 21     bar applies if a public disclosure occurs: “(i) in a Federal criminal, civil, or
                 22     administrative hearing in which the Government or its agent is a party; (ii) in a
                 23
                 24     4
                            This Court may take judicial notice of, or incorporate by reference, the documents
                 25     Defendants previously identified (see ECF Nos. 55-2 & 67-1) under either version of
                 26     the bar. Osheroff, 776 F.3d at 811-12 (finding district court properly considered
                 27     documents subject to judicial notice and incorporation by reference under both
                 28     versions of bar).
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                    1   congressional, Government Accountability Office, or other Federal report, hearing,
                    2   audit, or investigation; or (iii) from the news media.” 31 U.S.C. § 3730(e)(4)(A)
                    3   (2010).
                    4         The Army Times article is a disclosure “from the news media,” which qualifies
                    5   as a public disclosure and triggers the bar under both the 1986 and 2010 versions. 31
                    6   U.S.C. § 3730(e)(4)(A) (2006) (pre-2010 bar applies to disclosures “from the news
                    7   media”); 31 U.S.C. § 3730(e)(4)(A)(iii) (2010) (2010 bar applies to disclosures
                    8   “from the news media”).
                    9         The Federal Register similarly triggers the bar under both versions of the
                 10     statute. The Federal Register qualifies under 1986 version because, as the report of
                 11     a federal government agency, it is an administrative report. See United States ex rel.
                 12     Jamison v. McKesson Corp., 2010 WL 1276712, at *6-7 (N.D. Miss. Mar. 25, 2010)
                 13     (finding Federal Register an administrative report under 1986 bar), aff’d, 649 F.3d
                 14     322 (5th Cir. 2011); United States ex rel. Conrad v. Abbott Lab’ys, Inc., 2013 WL
                 15     682740, at *4 (D. Mass. Feb. 25, 2013) (noting parties did not dispute that Federal
                 16     Register was an administrative report under 1986 bar); see also Graham Cnty. Soil
                 17     & Water Conservation Dist. v. United States ex rel. Wilson, 559 U.S. 280, 287-93
                 18     (2010) (explaining that, under 1986 version of the bar, “administrative” refers to
                 19     “activities of governmental agencies” and concluding federal administrative reports
                 20     trigger the bar). And, under the 2010 version, the Federal Register qualifies because
                 21     it is a “Federal report.” See Mem. at 8-10 (analyzing Allergan, 46 F.4th at 996-1000);
                 22     Reply at 2 n.3 (noting 3729 LLC did not dispute the Federal Register was a “Federal
                 23     report”). Consequently, the Army Times article and Federal Register both qualify as
                 24     public sources under the 1986 and 2010 bars.
                 25           C.     3729 LLC is Not an Original Source Under Either Version of the
                 26                  Public Disclosure Bar
                 27           The 2010 amendments changed the definition of original source in two ways
                 28     relevant here: (1) by adding a new requirement that, to be an original source, the
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                    1   Complaint’s allegations must materially add to the public disclosure; and (2) by
                    2   removing the requirement that the original source’s independent knowledge be
                    3   “direct.” 31 U.S.C. § 3730(e)(4)(B) (2010). Thus, under the current version of the
                    4   statute, an original source is “an individual who either (i) prior to a public disclosure
                    5   under subsection (e)(4)(a), has voluntarily disclosed to the Government the
                    6   information on which allegations or transactions in a claim are based,5 or [ii] who has
                    7   knowledge that is independent of and materially adds to the publicly disclosed
                    8   allegations or transactions, and who has voluntarily provided the information to the
                    9   Government before filing an action under this section.” Id. (emphasis added). Under
                 10     the 1986 version of the statute, there was no “materially adds” requirement. 31
                 11     U.S.C. § 3730(e)(4)(B) (2006).        Further, the ACA amendments removed the
                 12     requirement that an original source needed to have knowledge that was not only
                 13     independent of the public disclosure, but also “direct.” Id.
                 14             Here, 3729 LLC is not an original source under either version of the statute.
                 15     3729 LLC is not an original source under the current version of the statute because
                 16     its allegations do not materially add to the public disclosures. 3729 LLC is not an
                 17     original source under the 1986 version of the statute because it lacks knowledge that
                 18     is “direct.” Finally, 3729 LLC cannot be an original source under either the 1986 or
                 19     current versions of the statute because it was formed weeks before filing its
                 20     Complaint and for the sole purpose of litigation.
                 21                        1.   3729 LLC is Not an Original Source Under the Current
                 22                             Version of the Bar Because Its Allegations Do Not
                                                Materially Add to the Public Disclosures
                 23
                 24             3729 LLC’s allegations do not materially add to the prior disclosures. It,
                 25     therefore, is not an original source with regard to claims submitted on or after March
                 26     23, 2010.
                 27     5
                            31 U.S.C. § 3730(e)(4)(B)(i) is not at issue here because 3729 LLC does not argue
                 28     that it made any disclosures to the government prior to the public disclosures.
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                    1         The 2010 amendments added a requirement that, to qualify as an original
                    2   source, a relator must allege facts that materially add to the public disclosure. 31
                    3   U.S.C. § 3730(e)(4)(B) (2010). As Defendants detailed in their prior submissions,
                    4   3729 LLC’s allegations do not materially add to the public disclosures. Rather, 3729
                    5   LLC’s allegations closely hew to the allegations in the Army Times and Federal
                    6   Register that ESI shipped 90 days’ worth of medication every 60 days, and dispensed
                    7   in a manner that was excessive. See Mem. at 12-14; Reply at 6-7.
                    8         The additional color that 3729 LLC adds is just that—color. Its Complaint
                    9   merely adds detail to what was previously disclosed, which is insufficient to meet the
                 10     “materially adds” standard. See United States ex rel. Winkelman v. CVS Caremark
                 11     Corp., 827 F.3d 201, 213 (1st Cir. 2016) (allegations regarding “the precise manner
                 12     in which” a defendant “operated [its] program” only add color and do not “materially
                 13     add[] to the public disclosures”); United States ex rel. CKD Project, LLC v. Fresenius
                 14     Med. Care Holdings, Inc., 2022 WL 17818587, at *4 (2d Cir. Dec. 20, 2022)
                 15     (including more specific details of publicly disclosed information did not materially
                 16     add to disclosures). Thus, for the reasons articulated in Defendants’ prior briefing,
                 17     all claims premised on Defendants’ submission of allegedly false claims on or after
                 18     March 23, 2010 are barred on this basis alone.
                 19                       2.   3729 LLC is Not an Original Source Under the 1986 Bar
                 20                            Because It Lacks Direct Knowledge
                 21           3729 LLC is not an original source under the 1986 bar because it lacks “direct
                 22     and independent” knowledge. Before the 2010 amendments, a relator had to have
                 23     knowledge that was “direct and independent.” 31 U.S.C. § 3730(e)(4)(B) (2006).
                 24     Knowledge is “direct” when it is obtained firsthand through a relator’s own efforts.
                 25     See Amphastar Pharms., 856 F.3d at 705. Knowledge is “independent” when a
                 26     relator obtains information regarding the fraud prior to its public disclosure. Id.
                 27           Here, 3729 LLC has no direct knowledge of the fraud because 3729 LLC “did
                 28     not discover firsthand the information underlying [its] allegations of fraud.” United
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                    1   States ex rel. Devlin v. California, 84 F.3d 358, 361 (9th Cir. 1996). 3729 LLC
                    2   admits that its knowledge was not direct, but rather “flowed from” its principals.
                    3   Opp. at 15. Nor could it have obtained direct knowledge, because the Complaint’s
                    4   most recent allegations concern events that occurred three years before 3729 LLC
                    5   was even created. Because 3729 LLC only obtained the relevant knowledge after-
                    6   the-fact, it lacks direct knowledge as required by the 1986 statute. See Devlin, 84
                    7   F.3d at 361 (finding relators did not have direct knowledge where they “derived it
                    8   secondhand”).
                    9                     3.   3729 LLC is Not an Original Source Under the 1986 or
                 10                            2010 Bars Because It Was Formed for this Litigation
                 11           3729 LLC is not an original source under either version of the bar for the
                 12     separate and additional reason that it was formed weeks before the instant Complaint
                 13     was filed and for the sole purpose of bringing this lawsuit.
                 14           As Defendants detailed in their prior briefing, an entity formed on eve of
                 15     litigation for the sole purpose of bringing a lawsuit cannot be an original source under
                 16     the FCA. Mem. at 10-12; Reply at 5-6. That one of its members might qualify as an
                 17     original source is irrelevant because 3729 LLC and its members cannot be treated
                 18     interchangeably under the FCA. See United States ex rel. CKD Project, LLC v.
                 19     Fresenius Med. Care Holdings, Inc., 551 F. Supp. 3d 27, 33, 44-46 (E.D.N.Y. 2021)
                 20     (applying both the pre- and post-ACA amendments in holding that relator formed for
                 21     litigation was not an original source), aff’d, 2022 WL 17818587 (2d Cir. Dec. 20,
                 22     2022); United States ex rel. Doe v. Janssen Pharm. N.V., 2018 WL 5276291, at *3
                 23     (C.D. Cal. Apr. 19, 2018) (refusing to treat LLC and member as “one in the same” in
                 24     FCA’s first-to-file context), aff’d sub nom., United States ex rel. Alexander Volkhoff,
                 25     LLC v. Janssen Pharm. N.V., 945 F.3d 1237, 1244 (9th Cir. 2020) (affirming district
                 26     court and rejecting “proposition that an LLC is interchangeable with a natural
                 27     person”).
                 28           Instead, LLCs are “distinct legal entities, separate from their stockholders or
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                    1   members.” Abrahim & Sons Enters. v. Equilon Enters., LLC, 292 F.3d 958, 962 (9th
                    2   Cir. 2002). Accordingly, 3729 LLC does not know any of the information or facts
                    3   its members purport to know unless those members gained that knowledge while
                    4   acting within the scope of their authority on behalf of the LLC. See Reply at 6 (citing
                    5   Am. Gen. Life Ins. Co. v. Darbinyan, 2022 WL 1134722, at *8 (C.D. Cal. Mar. 30,
                    6   2022) (“[W]here an agent does not acquire [knowledge] while acting within the scope
                    7   of his authority, the knowledge is no more to be imputed to the principal than to an
                    8   utter stranger.”)). Here, 3729 LLC was formed weeks before it filed the instant
                    9   Complaint in 2019. Thus, it cannot be the case that any of its members were acting
                 10     within the scope of their responsibilities on behalf of the LLC when they gained any
                 11     relevant knowledge. See United States ex rel. Precision Co. v. Koch Indus., Inc., 971
                 12     F.2d 548, 554 (10th Cir. 1992) (finding corporate relator formed shortly before filing
                 13     suit was not an original source where it “made no showing it has a legitimate claim
                 14     to information” forming basis of suit that was “gathered by” shareholder and
                 15     president “prior to its formation”). Because this argument rests on basic principles
                 16     of agency and attributable knowledge, it is unaffected by the amendments to the
                 17     public disclosure bar and applies to claims submitted both before and after 2010.
                 18                                        CONCLUSION
                 19           Any claims submitted before March 23, 2010 are governed by the pre-ACA
                 20     version of the public disclosure bar, and those submitted on or after March 23, 2010
                 21     by the current bar, as amended by the ACA. Under both versions of the bar, the
                 22     disclosures in the Army Times and in the Federal Register qualify as public
                 23     disclosures and possess the requisite substantial similarity to bar 3729 LLC’s suit.
                 24     Yet, 3729 LLC does not qualify as an original source under either version of the bar.
                 25     For claims allegedly submitted on or after March 23, 2010, 3729 LLC is not an
                 26     original source because its allegations do not materially add to the public disclosures.
                 27     For any claims before March 23, 2010, it does not have direct knowledge of the
                 28     information on which the allegations are based. And for both pre- and post-
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
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                    1   amendment claims, as an entity formed for purposes of bringing this lawsuit, 3729
                    2   LLC cannot be an original source of any knowledge purportedly gained before it even
                    3   existed.
                    4          Accordingly, all of Relator’s claims are barred by the FCA’s public disclosure
                    5   bar.
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                    8   Dated: February 27, 2023                  Respectfully submitted,
                    9                                             MORGAN, LEWIS & BOCKIUS LLP
                 10
                 11                                                   By: /s/ Joseph Duffy

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                                                                  Joseph Duffy, Bar No. 241854
                 13                                               joseph.duffy@morganlewis.com
                                                                  300 South Grand Ave., 22nd Floor
                 14                                               Los Angeles, CA 90071
                                                                  Tel: +1.213.612.7378
                 15                                               Fax: +1.213.612.2501
                 16                                               Attorney for Defendants
                                                                  Express Scripts Holding Co. and Express
                 17                                               Scripts, Inc.
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                    1                            CERTIFICATE OF SERVICE
                    2         The undersigned hereby certifies that a true and correct copy of the above and
                    3   foregoing document has been served on February 27, 2023, to all counsel of record
                    4   who are deemed to have consented to electronic service via the Court’s CM/ECF
                    5   system per Civil Local Rule 5.4. Any other counsel of record will be served by
                    6   electronic mail, facsimile and/or overnight delivery.
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                 10                                                   /s/ Joseph Duffy
                                                                      Joseph Duffy
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